Case 15-11648-amc        Doc 315    Filed 12/26/18 Entered 12/26/18 12:59:12          Desc Main
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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                       CHAPTER 11

 MAYUR PATEL
                                             BANKR. NO. 15-11648 (AMC)

                       Debtor



                                          PRAECIPE


 TO THE CLERK OF THE COURT:


          Kindly Withdraw the Acting United States Trustee's Motion to Compel Payment of

 Statutory Fees and Filing of Post-Confirmation Disbursement Reports or Alternatively, to

 Dismiss or Convert to Chapter 7, which is set for a hearing on January 9, 2019 at 11:00 a.m.

 with the Court.

                                           Respectfully submitted,

                                           ANDREW R. VARA
                                           ASSISTANT U.S. TRUSTEE
                                           REGION 3




 Dated: December 26, 2018                     BY:     /s/ Kevin P. Callahan
                                                    Kevin P. Callahan
                                                    Trial Attorney
